Details                                                                                                      Page I of 4
              Case 3:16-cv-02864-M Document 1-1 Filed 10/12/16           Page 1 of 27 PageID 6




              Case Information

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              DC-16-11405                   191 st District Court       09/08/2016

              MOTOR VEHICLE ACCIDENT        OPEN




              Party


              JENNINGS, LAYLA VANESSA      Lead Attorney
                                           AVANT, ANJEL K
              Address
                                           Retained
              1595 N. Central Expressway
              N/A
              Richardson TX 75080          972-705-9600

                                                 '·'il

                                           972-705-9601




              METROPOLITAN LLOYDS INSURANCE COMPANY OF TEXAS

              Address
              BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEMS
              1999 BRYAN STREET SUITE 900
              DALLAS TX 75201




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             Case 3:16-cv-02864-M Document 1-1 Filed 10/12/16         Page 2 of 27 PageID 7

             Lead Attorney
             CONDER, DENNIS D
             Retained


             214-748-5000


             214-748-1421




             METROPOLITAN PROPERTY AND CASUALTY INSURANCE COMPANY

              Aliases
              DBA METLIFE AUTO & HOME
             Address
             BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEMS
             1999 BRYAN STREET SUITE 900
             DALLAS TX 75201



             Lead Attorney
             CONDER, DENNIS D
             Retained

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             214-7 48-5000


             214-748-1421




             Events and Hearings




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                     Petition




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               ATTORNEY

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               PRIVATE PROCESS SERVER

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               09/16/2016

               ATTORNEY


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               PRIVATE PROCESS SERVER

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               09/16/2016

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                     METROPOLITAN LLOYDS INSURANCE COMPANY OF TEXAS- CITATION RETURN




                     METROPOLITAN PROPERTY AND CASUALTY INSURANCE CO- CITATION RETURN




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                   PLAINTIFFS 1ST




             Documents




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                                                                                                                                         DISTRICT CLERK

                                                             DC-16-11405                                                       Freeney Anita
                                        CAUSE NO.

       LA YLA VANESSA JENNINGS      §                                                       IN THE DISTRICT COURT
                                    §
                                    §
                                    §                                                     DALLAS COUNTY, TEXAS
       vs.                          §
                                    §
       METROPOLITAN LLOYDS INSURANCE§
       COMPANY OF TEXAS all d.      §
       METROPOLITAN PROPERTY AND    §
       CASUALTY INSURANCE COMPANY   §
       d/b/a METLJFE AUTO & HOME    §                                               J-~ 1 ST JUDICIALDISTRICT
       PLAINTIFF'S ORIGINAL PETITION, REQUEST FOR DECLARATORY JUDGMENT,
                          AND REQUEST FOR DISCLOSURE

      TO THE HONORABLE JUDGE OF SAfD COURT:

           COMES NOW Plaintiff LA YLA VANESSA JENNINGS and for cause of action against

      Defendants METROPOLITAN LLOYDS INSURANCE COMPANY OF TEXAS and

      METROPOLITAN PROPERTY AND CASUALTY INSURANCE COMPANY d/b/a

      METLIFE AUTO & HOME, and, in support, woLild show the Court, as follows:

                                                          I.
                                               DISCOVERY CONTROL PLAN

      l.      Plaintiff requests discovery Is to be conducted under Level 3 Scheduling Order &

      o'iscovery Control Plan.

                                                                    II.
                                                               PARTIES

      2.      Plaintiff LA YLA VANESSA JENNINGS is a resident of Dallas County, Texas. The last

      three digits of her Texas Driver's License are: 522. The last three digits of her Social Security

      Number are: 594.

      3.   Defendant METROPOLITANLLOYDS INSURANCE COMPANY OF TEXAS is a

      domestic insurance company and may b,!' served through its registered agent fo1· service: g

      PLAINTIFr"'S OlUGINAL   Pt~J'!1'10N,   REQUEST   ~OR   DECLARATORY Jt)DGi\o·IEi"l'T, & REQUEST I<' OR   D!SCLOSUJ~£   · P1\GE!
Case 3:16-cv-02864-M Document 1-1 Filed 10/12/16                                  Page 6 of 27 PageID 11




Corporation Systems, !999 Bryan Street, Suite 900, O~llas, Texas 75201.

4. METROPOLITAN PROPERTY AND CASUALTY INSURANCE COMPANY d/b/a

METLIFE AUTO & HOME is a foreign insurance company and may be served through its

registered agent for service: CT Corporation Systems, 1999 Bryan Street, Suite 900, Dallas,

Texas 75201-3136"

                                              III.
                                    VENUE AND J1JRJSDICTION

5.      This Court has jurisdiction over the parties and venue in \)alias County, Texas, because

the incident giving rise to this lawsuit occurred in Dallas County, Texas and the damages sought

by Plaintiff are within the jurisdictional limits of this Court.

                                              IV.
                                     FACTUAL BACKGROUND

6.      On April 23, 2015, Amar Khalaf struck the rear of Lay Ia Jennings' vehicle, which was

stopped at a red light on Campbell Road at N. Collins Road in Richardson, Texas. Mr. Khalaf

then left the scene before police arrived, without providing his driver's license infonnation, and

then refused to respond to the investigating officer's attempts to reach him. Mr. Khalal was cit~d

for failure to control his speed and driving withollt a license. The collision was the proximate

cause of the injuries, and damages at issue in this case.

7.      At the time of the collision, the vehicle driven by Amar Khalaf was owned by Park Place

Motorcars of Texas, Inc. Damages sustained by Ms. Jennings in the collision were covered by

Mr. Khalars auto policy through Progressive Insurance for $50,000.00. Ms. Jennings' damages

were also covered by Park Place's auto policy through Universal Underwriters Insurance

Company of Texas for an additional $30,000.00.

8.      Also at the time oft he collision, Layla Jennings was covered by her own auto policy·


PLAINTIH'S ORICIN1\L t'E'J'!TION, REQUEST FOI< 0£CLJ\Rr\TORV JUOGIV!ENT, &- RtQ()J::ST I"OR OlSCLOSURE PACE 2
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through Metropolitan Lloyds Insurance Company ofTexas and Metropolitan Property and

Casualty Insurance Company 'd/b/a Metlife Auto & Home (hereinafter "MetLife"). That policy

contained coverage for damages to Ms. Jennings exceeding Mr. Khalf and Park Place's policy

limits pursuant to an under-insured motorist provision contained in the Met Life policy. The

underinsured coverage available for Ms. Jennings' damages on the Met Life policy is limited to

$100,000.00.

9.       Damages sustained by Ms. Jennings in the collision at issue exceed the insurance

proceeds available through Mr. Khalifand Park Place.

I 0.     Ms. Jennings timely notified MetLife of Texas of the collision. Ms. Jennings obtained

written permission from Met Life to accept the policy limits tendered by Mr. Khalif and Park

Place, Ms. Jennings timely filed an underinsured motorist damage claim with MetLife for the

damages exceeding the insurance proceeds available through Mr. Khalil' and Park Place.

ll.      Despite Ms. Jennings' compliance with all conditions precedent, MetLife has refused to

pay Ms. Jennings' underlnsured damages in breach of its contract to do so.

12.      Also at the time of the collision at issue, Ms. Jennings auto policy with MetLife

contained a Personal Injury Provision (PIP), which provided no-fault coverage up to $2,500.00
                                                                                   1
for Ms. Jennings' medical expenses and lost income caused by the collision at issue .

13.      Despite Ms. Jennings' compliance with all conditions precedent, Met Life has refused to

pay Ms. Jennings' PIP damages in breach of its contract to do so.

                                                         v.
             COLLISION CAUSED BY THE NEGLIGENCE OF AMAR KHALAF

14.      The impact thar is the basis of this suit was proximately caused by the negligence of

Amar Khalaf in that he failed to exercise ordinary care or act as a reasonably prudent driver


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 would have acted under the same or similar circumstances, as fol,lows:

          a.       In failing to maintain a safe distance from Plaintiffs vehicle;

          b.       In demonstrating driver inattention;

          c.       In operating his vehicle at a speed' greater or slower than is reasonable and
                   prudent under the circumstances;

          d.       In failing to take appropriate evasive action to avoid colliding with another
                   vehicle;

          e.       In failing to keep the vehicle he was driving under proper control;

          f.       In failing to maintain a proper lookout while operating a motor vehicle

          g.       In failing to timely and properly apply his brakes;

         h.        In failing to operate a vehicle as a reasonably pflldent driver wot1ld under the
                   same or similar circumstances.

 15.     Each of the foregoing negligent acts and/or omissions. individually or in combination,

proximately catlsed the injuries and damages that are the basis of this lawsuit.

                                                           VI.

                              PETITION FOR DECLARATORY RELIEF

16.      Based on the foregoing facts, and pursuant to the policy of insurance in force and effect

between Plaintiff and Defendant MetLife at the time of the collision, Plaintiff seeks a declaratory

judgment pursuant to Tex.Civ.Prac. & Rem. Code Ch, 37.

17.      Plaintiff seeks a declaration construing the contract of insurance and declaring Plaintiff's

rights and obligations under the contract,

18.      Specifically, Plaintiff seeks a finding that Amar Khalaf was an underinsured motorist,

that Plaintiff is entitled to recover from Defendant             MetLift~   Plaintiffs both PfP damages in the

ammmt of$2,500.00, as well as damages exceeding the $80,000.00 in coverage available

through Amar Khalaf and Park Place's policies, that.Piaintifrs damages fall within the coverage

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afforded Plaintiff under the pol'lcy with Defendant MetLife, and specifying the amount of all

damages, attorney's fees, interest, and court costs that Defendant MetLife is obligated to pay.

                                                          vn.
                                         CONDITIONS PRECEDENT

 19.      Having determined that Amar Khalaf was at the time of the occurrence described above,

an underinsured driver as the term is detlned in the policy of insurance, Plaintiff timely and

properly notified Defendant MetLife. Plaintiff has fully complied with all the conditions of the

above-mentioned insurance policy prior to bringing this suit. All conditions precedent have been

performed or have occurred. Nevertheless, MeUife has failed and refused, and still fails and·

refuses, to pay Plaintiff's underinsured and P1P benefits under this policy as it is contractually

required to do so.

                                                          VIII.

                                                ATTOHNEY FEE§.

20.       As a result of Defendant Metlife's breach of contract, Plaintiff was required to engage the

             . AVAT LAW FIRM. Plaintiff, therefore, seeks reimbursement of reasonable
services of the                                                                  .
attorney's fees, inasmuch as Plaintiff has been required to             emplo~    the undersigned attorney to file

and prosecute this suit.

                                                           LX.

                                       REQUEST FOR. DISCLOSURE

21.      Plaintiff serves with this Original Petition,           Reque~tfor   Declaratory Judgment, and

Request/or Disclosure, pursuant to the Texas Rules of Civil Procedure 194. Plaintiff requests

that Defendants METROPOLITAN LLOYDS fNSURANCE COMPANY OF TEXAS and

METROPOLITAN PROPERTY AND CASUALTY fNSURANCE COMPANY d/b/a


PL1\IN'fiF'f'S O!ilCIN1\L I'E'!'ITION, RE;QUE.ST I-' OR DF..CL,\UA'fOHY .1UDGM£NT,& lli!QUES'f FOH   DlSCLOSURE~   PACeS
Case 3:16-cv-02864-M Document 1-1 Filed 10/12/16                                    Page 10 of 27 PageID 15




 METLTFE AUTO & HOME provide full and complete responses to all sub·parts delineated in

 TRCP J 94.2 to the undersigned counsel on or before fifty (50) days from service of this Original

 Petition.

                                                         X.

                             DISCOVERY SERVED WITH PETITION

 22.     This is to give notice to the Defendants and Defendants' counsel that, attached to this

 Original Petition and being served herewith are:

         a.)     Plaintiff's First Set of Interrogrr/or/es Directed to Defendam METROPOLITAN
                 LLOYDS INSURANCE COMPANY OF TEXAS;

         b.)     Plain/iff's Firs/ Set oflll/errogatories Directed to Deferillant METROPOLITAN
                 PROPERTY AND CASUALTY INSURANCE COMPANY diMe METLJFE
                 AUTO & HOME;

         c.)     P/aintif.rs First Request.~ for Production ofDocuments Directed to Defenilrmt
                 METROPOLITAN LLOYDS INSURANCE COMPANY OF TEXAS; ani/

         d.)     Plaintiff's First Requests for Prorlucl/on of Documents Directed to Defendant
                 METROPOLITAN PROPERTY AND CASUALTY INSURANCE COMPANY
                 rllb/rr METLIFE AUTO & HOME.

         Defendants are hereby requested to serve on the undersigned counsel true and complete

responses to all written discovery requests within fifty (50) days of service.

                                                        XI.

                                          PRAYER F'OR RELIEF

        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that Defendants

METROPOLITAN LLOYDS INSURANCE COMPANY OF TEXAS and METROPOLITAN

PROPERTY AND CASUALTY INSURANCE COMPANY d/b/a METLIFE AUTO & HOME

be served with this Original Petition, Request for Declaratory Judgment, and Request for

Disclosure, Plaintiffs First Set oflnterrogatories, and Plaintiffs First Request for Production,


PLr\INTTFF'S ORIGIN,\L PETITIONj   I~EQUEST   FOR D£CLAAAIORY JUDGl'I·JENT, & REQUEST F'Olt DISCLOSUJ~£. PAC£ 6
        Case 3:16-cv-02864-M Document 1-1 Filed 10/12/16                                      Page 11 of 27 PageID 16


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         and that after tina! trial or hearing of this cause, Plaintiff recover from Defendants:

                  I, All economic and noneconomic damages, liquidated and unliquidated, In an
                      amount within the jurisdictional limits ofthis Court;

                  2, Prejudgment and Post-judgment interest at the maximum rate allowed by law;

                 3. Costs of suit;

                 4. Attorney Fees; and

                 5. Such other and further relief, in law or equity, to which Plaintiff may show
                    herself justly entitled,


                                                             Respectfully submitted,

                                                             AVAN'f LAW FIRM


                                                             Anj K. Avant
                                                             State Bar No, 01448470
                                                             !595 N. Central Expressway
                                                             Richardson, Texas 75080
                                                             aljjel@avantla wfi rm.com
                                                             972-705-9600 phone
                                                             972-705-960 I fax
                                                             anjel@avantlawfirm.com
                                                             AT1'0RNEY FOR PLAINTIFF




        PL1\.INTJFI''S ORIGINAL PETITION, REQUESTJ..OR DECLAR;\TORV JUDCt\·JENT, & nt:Ql.IEST F'OR D!SCLOS\JR£ ~ fiAO\'; 1
                        Case 3:16-cv-02864-M Document 1-1 Filed 10/12/16                            Page 12 of Mdt--~
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                                                                    J-N)~k pf!S,a.,z;-C
    FORM NO. 353-3- CITATION                                       ;ffGt, o~gnq FPP
    THE STATE OF TEXAS                                                Dr:;r:J-IV~7P
                                                                                                                          CITATION
    To:
         METROPOLITAJ."{ PROPERTY·& CASUALTY INSURANCE COMPANY D!BfA
                                                                                                                         DC-16-11405
    METLIFE AUTO & HOME
         BY SERVING ITS REGISTERED AGENT CT CORPORATION SYST&"\1S
         1999 BRYAN STREET SUITE 9GO
         DALLAS TX 75201                                                                                          LA YLA VANESSA JENl'HNGS
                                                                                                                             vs.
    GREETINGS:                                                                                                     METROPOLITAN LLOYDS
    You have been sued. You may employ an attorney. If you or your attorney do not file a written             INSURANCE COMPANY OF TEXAS, et
    answer with the clerk who Issued this citation by 10 orclock a.m. of the Monday next following the                       al
    expiration of twenty days after you 'vere served this citation and petition, a default jud-gment may be
    taken against you. Your answer should be addressed to the clerk of the 191st District C~urt-at 600
    Commerce Street, Ste. l 0 I, Dallas, Texas 75202.         .                                ·                         ISSUED THIS
     >L•   •                                                  ~-   (,~.-
                                                                                                                  11th day of September, 2016
    Said Plaintiff being LA YLA V A.l\!ESSA JENNINGS
                                                                                                                       FELICIA PITRE
    Filed in said Court 8th day of September, 2016 against                                                           C1erk District Courts,
                                                                                                                      Dallas County.,. Texas
    METROPOLITAN LLOYDS INSURANCE COMPANY OF TEXAS & METROPOLITAN
    PROPERTY & CASUALTY INSURANCE COMPANY D/B/A METLIFE AUTO & HOME
                                                                                                               By: ALEXANDER OPLAND, Deputy
    For Suit, said suit being numbered DC-16-11405, the nature of which demand is as follows:
    Suit on MOTOR VEffiCLE ACCIDENT etc. as shown on said petition REQ"UEST FOR
    DISCLOSURE, a copy of which accompanies this citation. Iftl1is citation is not served, it shall be                Attorney for Plaintiff
    returned unexecuted_        -                                                                                      ANJEL K AVANT
                                                                                                                !595 N CENTRAL EXPRESSWAY
    WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                   RICHARDSON TX 75080
                                                                                                                         972-705-9600
    Given under my hancf and the Seal of said Court at office this 12th day of September, 2016.




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                                                                                                           DISTRICT CLERK



                                       CAUSE NO. DC-16"11405

 LA YLA VANESSA JENNINGS                                  §         IN THE DJSTRICT COURT
                                                          §
        Plaintiff,                                        §
                                                          §
 vs.                                                      §
                                                          §
                                                          §
 METROPOLITAN LLOYDS INSURANCE                            §         191 8T JUDICIAL DISTRICT
 COMPANY OF TEXAS and                                     §
 METROPOLITAN PROPERTY AND                                §
 CASUALTY INSURANCE COMPANY                               §
 d/b/a METLIFR AUTO & HOME,                               §
                                                          §
        Defendants                                        §         DALLAS COUNTY, TEXAS

                      DEFENDANT METROPOLITAN LLOYDS
                INSURANCE COMPANY OF TEXAS' ORIGINAL ANSWER

 TO THE HONORABLE JUDGE OF SAID COURT

        COMES NOW Metropolitan Lloycls Inouranoe Company of Texas, a Defendant in the

 above"entitled and numbered cm1sc, and Jiles this its Original Answer, and in S\lpport thereof

 would respectfully show this Honorable Court the following:

                                        I. GENERAL DENIAL

        Defendant Metropolitan Lloyds lnsmancc Company of Texas denies all and singular,

 each and every aJJegation contained in     Plaintiff~'   Original Petition and says that the same are not

tn1e in whole or in part, and demands slricl proof thereof by a preponderance of the evidence.

                                    IT, AFFTRMATlVE           DI~FENSE


        Pleading further in the      ~llirmative,   pursuant to Rttle 94 of the Texas Rules of Civil

Procedl.n·e, Defendant Metropolitan Lloyds lnsmance Company of Texas alleges the following

affirmative defenses:




DEFENDANT     IVII~'I'ROPOLJ'I'AN   GENERAL INSURANCE COMPANY'S ORIGINAL ANSWER- Pogel
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       a.        Defendant Metropolitan Lloyds Insurance Company of Texas would show that

there are contractual provisions with which Plaintiff Layla Vanessa Jennings has failed to

comply.      Specifically, Plaintiff Layla Vanessa Jennings has failed to establish that there arc

damages to which she is legally entitled to recover from the owner or operator of an

underinsured/uninsured motor vehicle.

        b.       Defendant Metropolitan Lloyds Insurance Company of Texas is entitled to a

credit or offset for the amount of any liability settlement and personal injmy protection benefits

already received by Plaintiff. Specifically, Defendant Metropolitan Lloyds Insurance Company

of Texas has paid the personal injury protection benefit limits of $2,500.00 and denies Plaintiffs

allegations that such payment has not been made, and Defendant Metropolitan Lloyds Insurance

Company of Texas has breached tbe contract.

        c.       Defendant Metropolitan Lloyds Insurance Company of Texas further asserts that

the Plaintiff Layla Vanessa Jennings's medical damages, if any, should be subject to the

provisions of§ 41.0 l 05 et seq of the Texas Civil Practice and Remedies Code.

       d.        Purther, to the extent Plaintiff Layla Vanessa Jennings seeks recovery of lost

wages, loss of eaming capucity, loss of contributions of a pecuniary value, or loss of inheritance,

this Defendant relies on Texas Civil Practice & Remedies Code §18.091 (a) and (b) in requiring

Plaintiff Layla Vanessa Jennings to prove the loss, if any, in the form of a net loss after reduction

for income tax payments or unpaid tax liability pursuant to any federal income tax law and that

the Court instruct the jmy as to whether the recovery, if any, for compensatory damages sought

by Plaintiff Layla Vanessa Jcm1ings subject to federal or state income taxes,

       e.        Further, Plaintit'fLayla Vanessa Jennings is not entitled to a declaratory judgment

pursuant to Tex. Civ. Prac. & Rem. Code Ch. 37. Plaintiff claims that the amount of damages,


DEFENDANT METROPOLITAN GENERAL INSURANCE COMPANY'S ORIGINAL ANSWER- Page 2
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attorney's fees, interest, and cotni costs should be determined pursuant to the Texas Declaratory

Judgment Act. Defendants also deny that Plaintiff is entitled to recover attorney's fees under the

Texas Declaratory Judgment Act.

          f.        Plaintiff Layla Vanessa Jennings has not satisfied the conditions precedent to seek

declaratory and injunctive relief under the policy of insurance issued by Defendant.

          WHEREFORE, PREMISES CONSIDERED, Defendant Metropolitan Lloyds Insurance

Company of Texas prays that the Plaintiff Layla Vanessa Jennings take nothing against this

Defendant, and that this Defendant go henceforth without day, with its costs, and for such other

and further relief, both at law and in equity, specific and general, to which Defendant

Metropolitan Lloyds Insurance Company of Texas may show itself to be justly entitled.

                                                        Respectfully submitted,

                                                        STACY&(:ONDER, LLP
                                                            r          ! .. :-....-.. .;.-

                                                        By:         /r· :(t,j'~
                                                                   .· Devriis:conder
                                                                    ·-·State Bar No. 04656400

                                                        901 Main Street, Suite 6200
                                                        Dalla~;,    Texas 75202
                                                        (214) 748-5000
                                                        (214) 748-1421 FAX
                                                        con cl.\'l:@.sJ<±c y conde r. com

                                                        ATTORNEYS FOR DEFENDANT
                                                        METROPOLITAN LLOYDS INSURANCE
                                                        COMPANY OF TEXAS

                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the                 ~_..,.~ay
                                                                  of [)(:,h);J'/        , 2016, a
copy of the foregoing was delivered via certified mail, .return receipt requested, to counsel for
Plaintiff.                                 ·      ! i/       .'     "
                                                     /, ~-'fJAr{r<-~-----
                                                  Dennis/o. Conder
PANIPLDG/574715.1/001466, 16931                    \'-"..-··' -·


DEFENDANT METROPOLITAN GENERAL INSURANCE COMPANY'S ORIGINAL ANSWER- Page 3
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                                                                                                     DISTRICT CLERK
                                      CAUSE NO. DC-l6-ll405

 LA YLA VANESSA JENNINGS                            §           IN THE DISTRICT COURT
                                                    §
         Plaintiff,                                 §
                                                    §
 VS,                                                §
                                                    s§
 METROPOLITAN LLOYDS INSURANCE                      §           191 ST JUDICIAL DISTRICT
 COMPANY OF TEXAS ~nd                               §
 METROPOLITAN PROPERTY AND                          §
 CASUALTY INSURANCE COMPANY                         §
 dlb/~ METLIFE AUTO & HOME,                         §
                                                    §
        Defendants                                  §           DALLAS COUNTY, TEXAS

       DEFENDANT METROPOLlTAN PROPERTY AND CASUAL TV INSURANCE
          COMPANY d/b/a MET LIFJL AUTO & HOME'S ORJGINAL ANSWER

 TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Metropolitlln PropMy llnd Casulaty Insurance Company d/b/a Meti.ife

Auto & Home, a Defend~nt in the aboye . entitled and numbered cause, and tlles this its Original

Answer, and in support thereof would respectfully show this Honorable Court the following:

                                                   I.

                                        VERIFIED llKNIA.L

        Defendant Metropolitan Property and CasuJaty        lnsur~nce     Company d/b/a MetLife Auto

& Home, pursuant to Rule 93(2) and (4) of the Texas Rules of Civil Procedure, files this Verified

Denial, stating that Metropolitan Property and CasuJaty Insurance Company d/b/a MetLife Auto

& Home is not liable in the capacily in which it is sued, Furthermore, Defendant Metropolitan

Prope1ty and Casulaty Insurance Company d/b/a Metlife Auto & Home states that there is a

defect of parties and that it is not a proper party to this proceeding,




PEFENPANT METROPOLJTAN GENL!RAL INSUHANCE COMPANY'S ORIGINAL ANSWER -!'age 1
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                                   II. GENERAL DENIAL

       Defendant Metropolitan Property and Casulaty Insurance Company d/b/a MetLife Auto

& Home denies all and singular, each and every allegation contained in Plaintiffs' Original

Petition and says that the same are not true in whole or in pmi, and demands strict proof thereof

by a preponderance of the evidence.

                               III. AFFlRMA TIV~~ DEFENSE

       Pleading further in the affinnative, pursuant to Rule 94 of the Texas Rules of Civil

Procedure, Metropolitan Property and Casulaty Insurance Company d/b/a MetLife Auto & Home

alleges the following affinnative defenses:

       a.      Metropolitan Property and Casulaty Insurance Company d/b/a MetLife Auto &

Home would show that there are contractual provisions with which Plaintif1' Layla Vanessa

Jennings has failed to comply.     Specifically, Plaintiff Layla Vanessa Jennings has failed to

establish that there are damages to which she is legally entitled to recover from the owner or

operator of an underinsured/uninsured motor vehicle.

       b.      Metropolitan Property and Casulaty Insurance Company d/b/a MetLifc Auto &

Home is entitled to a credit or offset   tor the amount of any liability settlement and personal
injury protection benefits already received by Plaintiff. Specifically, Defendant Metropolitan

Lloyds Insurance Company of Texas has paid the personal injury protection benefit limits of

$2,500.00 and denies Plaintiff's allegations that such payment has not been made, and Defendant

Metropolitan Lloyds Insurance Company of Texas has breached the contract.

       c.      Metropolitan Property and Casulaty Insurance Company d/b/a MetLife Auto &

Horne further asserts that the PlaintiffLayla Vanessa Jennings's medical damages, if any, should

be subject to the provisions of§ 41.0 l 05 et seq of the Texas Civil Practice and Remedies Code.


DEFENDANT METROPOLITAN GENERAL INSURANCE COMPANY'S ORIGINAL ANSWER- Page 2
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        d.      Further, to   th~ ~xt~nt   Plaintiff Layla Vanessa Jermings seeks recovery of lost

wages, loss of earning capacity, loss of contributions of a pecuniary value, or loss of inheritance,

this Defendant relies on Texas Civil Practice & Remedies Code §18.09l(a) and (b) in requiring

Plaintiff Lay Ia Vanessa Jennings to prove the loss, if any, in the fmm of a net loss after reduction

for income tax payments or unpaid tax liability pursuant to any federal income tax law and that

the Court instruct the jury as to whether the recovery, if any, for compensatory damages sought

by PlaintiffLayla Vanessa Jennings subject to federal or state income taxes.

        e.      Further, Plaintiff Layla Vanessa Jennings is not entitled to a declaratory judgment

pursuant to ·rex. Civ. Prac. & Rem. Code Ch. 37. Plaintiff claims that the negligence, coverage

issues, and the amount of damages should be determined pmsuant to the Texas Declaratory

Judgment Act.

        f.      Plaintift'Layla Vanessa Jennings has not satisfied the conditions precedent to seek

declaratory and injunctive relief under the policy of insurance issued by Defendant.

        WHEREFORE, PREMISES CONSIDERED, Metropolitan Property and Casulaty

Insurance Company d/b/a MetLife Auto & Home prays that the PlaintiffLayla Vanessa Jennings

take nothing against this Defendant. and that this Defendant go henceforth without day, with its

costs, and for such other and further relief, both at law and in equity, specific and general, to

which Metropolitan Property and Casulaty Insurance Compmry cVb/a MetLife Auto & Home

may show itself to be justly entitled.




DEFENDANT METROPOLITAN CENRRAL INSURANCE COMPANY'S ORIGINAL ANSWER- Page 3
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                                                 Respectfully submitted,


                                                 STAQY&~~LLP
                                                 By:_/              ftf~---~
                                                   IDm             onder
                                                    '-Sf,;te Bar No. 04656400

                                                 901 Main Street, Suite 6200
                                                 Dallas, Texas 75202
                                                 (214) 748-5000
                                                 (214) 748-1421 FAX
                                                 conderi(ilsta cycond er. com

                                                 ATTORNEYS FOR DEFENDANT
                                                 METROPOLITAN LLOYDS INSURANCE
                                                 COMPANY OF TEXAS


                                   CERTIFICATE OF SERVICE

      The w1dersigned hereby certifies that on the            ?'·
                                                            day of            _Qt1'))kl/   ,
                                                                                        2016, a
copy of the foregoing was delivered via certified mail, return receipt requested, to counsel for
Plaintiff.                                    (J)/J                 •-4   _
                                            D1rmis~------
PA N/PLDG/574716, 1/001466.16931              \,__. . . / /




DEFENDANT METROPOLITAN GEN!W.AL INSURANCE COMPANY'S ORIGINAL ANSWER- Page 4
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   STATE OF TEXAS                §
                                 §
   COUNTY OF DALLAS              §

            BEFORE ME, the undersigned Notary Public, on this day personally appeared Kathy
   Martin, who being by me duly swom on her oath deposed and said that she Is a t•epresentative for
   Mett·opolitan Property 1\IlO CaS\ialty lnsumnc~ Company, that she has t•ead the foregoing Original
   Answer for which this Verification has been prepared; and that to her personal knowledge states
   the statements contained the1·eln are tt·ue and CO!Tect,

                                                  ~12        ();..ML!f-
                                                ~a~n                      '•

           SUBSCR18ED AND SWORN TO BEFORE ME on this                   ~day         of   tio/d.tv: ,
   2016, to certify which witness my hand and official seal.


                                              ~ Notary P\1bllc In and for the State of Texas




   DEFENDANT METROPOLfTAN GllNERALl~lSURAN.CU: COMPANY>SOR!GINAL ANSWER- Png~ S
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I                                        CAUSE NO. DC-16-11405

    I,AYLA VANESSA JENNINGS                            §                    IN THE IHSTRICT COURT
                                                       §
                                                       §
                                                       §                   DALLAS COUNTY, TEXAS
    vs.                                                §
                                                       §
    METROPOLITAN LLOYDS INSURANCE§
    COMPANY OF TEXAS             §                                         191' 1 JUDICIAL DISTRICT

                           PLAINTIFF'S FIRST AMENDED PETITION
                        AND REQUEST FOR DECLARATORY JUDGMENT

    TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW Plaintiff LAY I.A VANESSA JENNINGS and for cause of action against

    Defendant METROPOLITAN LLOYDS INSURANCE COMPANY OF TEXAS and, in

     support, would show the Court, as follows:

                                                I.
                                     DISCOVERY CONTROL PLAN

     1.     Plaintiff requests discovery is to be conducted under Level 3 Scheduling Order &

    Discovery Control Plan.

                                                      n.
                                                  PARTIES

    2.      Plaintiff LA YLA VANESSA JENNINGS is a resident of Dallas County, Texas. The last

    three digits of her Texas Driver's License are: 522. The last three digits of her Social Secul'ity

    Number are: 594.

    3.    Defendant METROPOLITAN LLOYDS lNSURANCE COMPANY OF TEXAS is a

    domestic insurance company and has hccn served and has made an appearance in this case.

                                               Ill,
                                      VENUE AND .JURISDICTION

    4.      This Court has jurisdiction over the parties and venue in Dallas County, Texas, because


    PLAINTIFF'S FIRST AMEND EO PETITION, RI':QUEST fi'OR DECLARATORY   JUDGMENT~   l)AGE 1




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the incident giving rise to this lawsuit occurred in Dallas County, Texas and the damages sought

by Plaintiff are within thejurisdictionallimits of this Court.

                                                 TV.
                                  F'ACTUAL BACKGROUND

5.      On April23, 2015, Arnar Khalaf struck the rear ofLayla Jennings' vehicle, which was

stopped at a red light on Campbell Road at N. Collins Road in Richardson, Texas. Mr. Khalaf

then left the scene before polke arrived, without providing his driver's license information, and

then refused to respond to the investigating officer's attempts to reach him. Mr. Khalal was cited

for failure to control his speed and driving without a license. The collision was the proximate

cause of the injuries, and damages at issue in this case.

6.      At the time of the collision, the vehicle driven by Amar Khalaf was owned by Park Place

Motorcars of Texas, Inc. Damages sustained by Ms. Jennings in the collision were covered by

Mr. Khalafs auto policy through Progressive Insurance for $50,000.00. Ms. Jennings' damages

were also covered by Park Place's auto policy through Universal Underwriters Insurance

Company of Texas for an additional $30,000.00.

7.     Also at the time of the collision. Layla Jennings was covered by her own auto policy

through Metropolitan Lloyds Insurance Company of Texas (hereinatler "MetLife"), That policy

contained coverage fbr damages to Ms. Jennings exceeding Mr. Khalf and Park Place's policy

limits pursuant to an under-insured motorist provision contained in the MetLife policy. The

underinsured coverage available for Ms. Jennings' damages on the MetLife policy is limited to

$100,000.00.

8.      Damages sustained by Ms. Jennings in the collision at issue exceed the instlrance

proceeds available through Mr. Khalif and Park Place.

9.      Ms. Jennings timely notified MetLife of the collision. Ms. Jennings obtained written


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 permission from MetLife to accept the policy limits tendered by Mr. Khalifand Park Place. Ms.

 Jennings timely tiled an underinsured motorist damage claim with MetLife for the damages

 exceeding the insurance proceeds available through Mr. Khalif and Park Place,

 10,     Despite Ms. Jennings' compliance with all conditions precedent, MetLife has refused to

 pay Ms. Jennings' underinsttred damages in breach of its contract to do so.

 II,     Also at the time of the collision at issue, Ms. Jennings uuto policy with MetLife

 contained a Personal Injury Provision (PI I'), which provided no-fault coverage up to $2,500.00

 for Ms. Jennings' medical expenses and lost income caused by the collision at issue.

 12.     Despite Ms. Jennings' compliance with all conditions precedent, MetLife has refused to

 pay Ms. Jennings' PIP damages in breach of its contract to do so,

                                                     V.
              COLLISION CAUSED BY THE NEGLIGENCE OF AMAR KHALAF

 13.     The impact that is the basis ofthis Sliil was proximately caused by the negligence of

 Amar Khalaf in that he failed to exercise ordinary care or act as a reasonably prudent driver

 would have acted under the same or similar circumstances, as follows:

         a.      In failing to maintain a safe distance from Plaintiffs vehicle;

         b.      ln demonstrating driver inattention;

         c.      In operating his vehicle at a speed greate.r or slower than is reasonable and
                 prudent under the circumstances:

         d.      In failing to take appropriate evasive action to avoid colliding with another
                 vehicle:

         e.      In failing to keep the vehicle he was driving under proper control;

         f.      In failing to maintain a proper lookout while operating a motor vehicle

         g.      In failing to timely and properly apply his   br~kes;




 PLAINTIFF'S FIRST AMENDED PETITION, REQUl!:ST FOH   Dr~CLARATORY   H!DGMENT   ~PAGE   3
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        h.       In failing to operate a vehicle as a reasonably prudent driver would under the
                 same or similar ch·cumstanees,

 14.     Each of the foregoing negligent acts and/or omissions, individually or in combination,

 proximately caused the injuries and damages that are the basis of this lawsuit.

                                                   VI.

                           PETITION FOR DECLARATORY RELIEF

 15.    Based on the foregoing fac.ts, and pursuant to the policy of insmance in force and effect

 between Plaintiff and Defendant Mot Life at the time ofthe collision, Plaintiff seeks a declaratory

judgment pursuant to Tex.Civ.Pme. & 1\ern. Code Ch. 37.

 16.    Plaintiff seeks a declaration construing the contract of insurance and declaring Plaintiffs

 rights and obligations under the contract.

 17.     Specifically, Plaintiff seeks a Jinding that Amar Khalaf was an underinsured motorist,

 that Plaintiff is entitled to recover from Defendant Met Life Plaintiffs both PIP damages in the

 amount of $2,500,00, as well as damages exceeding the $80,000.00 in coverage available

 through Amar Khalaf and Park Place's policies, that Plaintiffs damages fall within the coverage

 afforded Plaintiff under the policy with Defendant MetLife, and specifying the amount of all

 damages, attorney's fees, interest, and cowi costs that Defendant Met Life is obligated to pay.

                                                   VII.

                                    CONDITIONS PRECEDENT

 18.     Having determined that Arnar Khalaf was at the tirne of the occurrence described above,

 an underinsured driver as the tenn is de11ned in the policy of insurance, Plaintiff timely and

 propeTly notified Defendant MetLife. Plaintiff has fully complied with all the conditions of the

 above-mentioned insurance policy prior to bringing this suit. All conditions precedent have been

 performed or have occurred. Nevertheless, Metlife has failed and refused, and still fails and


 PLAIN'fJI7F 1S FIRST AMENDED PETITION, RI•;QugsT FOR DECLARATORY JliDGMI~NT- PAGE 4
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 refuses, to pay Plaintiffs underinsured and PIP benefits under this policy as it is contractually

 required to do so.

                                                VITI.

                                        ATTORNEY FEES

 19.     As a result of Defendant Metlife's breach of contract, Plaintiff was required to engage the

 services of the AVAT LAW FIRM. Plaintiff, therefore, seeks reimbursement of reasonable

 attorney's fees, inasmuch as Plaintiff has been required to employ the undersigned attorney to file

 and prosecute this suit.

                                                 IX.

                                      PRAYER FOR RELIKF

         WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that after final triul or

hearing ofthis cause, Plaintiff recover ti·om Defendant:

         I. All economic and noneconomic damages, liquidated and unliqt1idated, in an
            amount within the jurisdictional limits of this Court;

        2. Prejudgment and Post-judgment interest ut the maximum rate allowed by law;

         3. Costs of suit;

        4. Attorney Fees; and

         5. StiCh other and f\!rther relief, in law or equity, to which Plaintiff may show
            herselfjustly entitled.


                                               Respectfully submitted,

                                               AVANT LAW FIRM

                                                Am;<:
                                               ~~      ~---




                                               Anj 1<. Avant
                                                                /1 v-an:!;
                                                                       --~-




                                               Stute Bar No. 0 J 4484 70
                                               1595 N. Central Expressway

 PLAlNTIFF'S FlRST AMENDED PETTTTON, REQUEST fOR DECLARATOR\' JlJDGMENT   ~PAGE   5
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                                                  Richardson, Texas 75080
                                                 anjel@avantlawtirm .com
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                                                 972-705-960 I fax
                                                 anjel@avantlawfinn.corn
                                                 ATTORNEY FOR PLAINTIFF


                                        CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the forgoing was served on all counsel of
 record via e-mail, plll'suant to the Texas Rules of Civil Procedure on this the 3rd day of October,
 2016.




PLAINTIFF'S FfRST AMENDED PRTTI'ION, HI!:Qllli:S'J' FOR DECLARATORY JlJOGMENT- PAGE 6
